Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2168   Page 1 of 27




                      EXHIBIT U
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2169   Page 2 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2170   Page 3 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2171   Page 4 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2172   Page 5 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2173   Page 6 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2174   Page 7 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2175   Page 8 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2176   Page 9 of 27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2177   Page 10 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2178   Page 11 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2179   Page 12 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2180   Page 13 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2181   Page 14 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2182   Page 15 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2183   Page 16 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2184   Page 17 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2185   Page 18 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2186   Page 19 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2187   Page 20 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2188   Page 21 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2189   Page 22 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2190   Page 23 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2191   Page 24 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2192   Page 25 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2193   Page 26 of
                                     27
Case 2:16-cv-13036-GAD-SDD ECF No. 84-22 filed 07/03/18   PageID.2194   Page 27 of
                                     27
